Case 1:19-cv-11018-AT-KNF Document 81 Filed 10

DOCUMENT

ELECTRONICALLY FILED

UNITED STATES DISTRICT COUF |} DOC #:
SOUTHERN DISTRICT OF NEW YO || DATE FILED: ___ 10/16/2020

   

 

CONTRARIAN CAPITAL MANAGEMENT,
L.L.C., CONTRARIAN CAPITAL FUND [,
L.P., CONTRARIAN DOME DU GOUTER
MASTER FUND, LP, CONTRARIAN
CAPITAL SENIOR SECURED, L.P.,
CONTRARIAN EM II, LP, CONTRARIAN
EMERGING MARKETS, L.P., POLONIUS
HOLDINGS, LLC, and CONTRARIAN Case No. 19 Civ. 11018 [rel. Nos. 19
FUNDS, L.L.C., Civ. 3123 & 18 Civ. 11940]

Plaintiffs,
Hon. Analisa Torres

Vv.
BOLIVARIAN REPUBLIC OF VENEZUELA,

Defendant.

 

 

 

JUDGMENT

For the reasons stated in this Court’s Memorandum Opinion and Order dated October 1,

2020 (Dkt. 74):

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment is hereby

entered in favor of the following Plaintiffs and against Defendant in the following amounts:

 

Accrued
Accrued Statut
Coupon anelory Total Owed
Prejudgment
oe : Overdue Interest Through
Plaintiff Holding - Interest
Principal Through Th October 15,
rough
October 15, 2020
2020 October 15,
2020

 

Polonius 13.625%
Holdings, | Notes Due | $20,680,000.00 | $8,922,558.33 | $1,076,187.91 | $30,678,746.24

LLC 08/15/2018

 

 

 

 

 

 

 
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Accrued
Accrued Statuto
Coupon . ry Total Owed
Prejudgment
oe : Overdue Interest Through
Plaintiff Holding - Interest
Principal Through October 15,
Through
October 15, 2020
2020 October 15,
2020
. 13.625%
Polonius ReoS Notes
Holdings, Due $25,319,000.00 | $10,924,093.54 | $1,317,601.63 | $37,560,695.17
LLC 08/15/2018
Polonius 7.00%
Holdings, | Notes Due | $55,814,000.00 | $13,175,204.78 | $1,710,454.44 | $70,699,659.21
LLC 12/1/2018
Contrarian
Capital 12.75%
Senior Notes Due N/A $71,764.08 $8,581.89 $80,345.97
Secured, 08/23/2022
L.P.
Contrarian
Capital 11.75%
Senior Notes Due N/A $539,855.71 $72,550.92 $612,406.63
Secured, 10/21/2026
L.P.
© ontrarian 12.75%
mereins | Notes Due N/A $18,893,387.55 | $2,259,359.79 | $21,152,747.34
Markets,
08/23/2022
L.P.
Contrarian | 994 Notes
Make ie Due N/A $455,764.44 $60,423.91 $516,188.35
> | 05/07/2023
L.P.
Commi | 3.23%
18 = | Notes Due N/A $1,301,202.08 $175,955.92 $1,477,158.01
Markets,
LP 10/13/2024

 

 

 

 

 

 

 
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Accrued
Accrued Statuto
Coupon : ry Total Owed
Prejudgment
oe : Overdue Interest Through
Plaintiff Holding - Interest
Principal Through October 15,
Through
October 15, 2020
2020 October 15,
2020
conraran 11.75%
18 & | Notes Due N/A $69,328.473.07 | $9,317,016.10 | $78,645,489.17
Markets,
10/21/2026
L.P.
© ontrarian 9.25%
meres | Notes Due N/A $762,057.56 | $101,031.36 | $863,088.92
Markets,
05/07/2028
L.P.
: ontrarian 11.95%
meres | Notes Due N/A $19,165,352.72 | $2,335,894.65 | $21,501,247.37
Markets,
08/05/2031
L.P.
Contrarian 12.79%
EMILLP Notes Due N/A $961,879.27 $115,026.03 $1,076,905.30
° 08/23/2022
Contrarj 9% Notes
EM LIP Due N/A $61,900.00 $8,206.52 $70,106.52
? 05/07/2023
Contrari 8.25%
EM LIP Notes Due N/A $99,776.88 $13,492.39 $113,269.27
° 10/13/2024
Contrarian 11.75%
EM IL LP Notes Due N/A $8,863,211.04 $1,191,122.15 | $10,054,333.19
° 10/21/2026

 

 

 

 

 

 

 
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Accrued
Accrued Statuto
Coupon . ry Total Owed
Prejudgment
oe : Overdue Interest Through
Plaintiff Holding - Interest
Principal Through October 15,
Through
October 15, 2020
2020 October 15,
2020
Contrarian 9.25%
EMILLP Notes Due N/A $81,114.79 $10,753.96 $91,868.75
° 05/07/2028
Contrari 11.95%
EM LIP Notes Due N/A $41,914.63 $5,108.60 $47,023.23
° 08/05/2031
Centranen 11.75%
apa Notes Due N/A $9,095,688.71 | $1,222,364.70 | $10,318,053.41
Fund I,
10/21/2026
L.P.
Contrarian
Dome du 11.75%
Gouter Notes Due N/A $2,979,234.04 $400,377.66 $3,379,611.70
Master 10/21/2026
Fund, LP

 

It is FURTHER ORDERED, ADJUDGED, AND DECREED that if this judgment is

entered after October 15, 2020, judgment is hereby ordered in favor of Plaintiffs and against

Defendant in the following amounts per day following October 15, 2020 until the date which this

judgment is entered on the docket of the Court:

 

 

 

 

Plaintiff Holding Coupon and Prejudgment Interest
Accruing Per Day
Polonius Holdings, 13.625% Notes Due
LLC 08/15/2018 $9,911.09
; ; °
Polonius Holdings, 13.625% RegS Notes Due $12,134.38

LLC

 

08/15/2018

 

 

 

 
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Plaintiff

Holding

Coupon and Prejudgment Interest
Accruing Per Day

 

Polonius Holdings,
LLC

7.00% Notes Due 12/1/2018

$13,742.82

 

Contrarian Capital
Senior Secured,
L.P.

12.75% Notes Due 08/23/2022

$80.28

 

Contrarian Capital
Senior Secured,
L.P.

11.75% Notes Due 10/21/2026

$545.15

 

Contrarian
Emerging Markets,
L.P.

12.75% Notes Due 08/23/2022

$21,134.91

 

Contrarian
Emerging Markets,
L.P.

9% Notes Due 05/07/2023

$466.18

 

Contrarian
Emerging Markets,
L.P.

8.25% Notes Due 10/13/2024

$1,305.64

 

Contrarian
Emerging Markets,
L.P.

11.75% Notes Due 10/21/2026

$70,008.56

 

Contrarian
Emerging Markets,
L.P.

9.25% Notes Due 05/07/2028

$779.48

 

Contrarian
Emerging Markets,
LP.

11.95% Notes Due 08/05/2031

$21,103.58

 

Contrarian EM II,
LP

12.75% Notes Due 08/23/2022

$1,076.00

 

Contrarian EM II,
LP

9% Notes Due 05/07/2023

$63.32

 

Contrarian EM II,
LP

8.25% Notes Due 10/13/2024

$100.12

 

Contrarian EM II,
LP

11.75% Notes Due 10/21/2026

$8,950.16

 

 

Contrarian EM II,
LP

 

9.25% Notes Due 05/07/2028

 

$82.97

 

 
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Plaintiff Holding Coupon and Prejudgment Interest
Accruing Per Day
Contrarian EMT | 11.95% Notes Due 08/05/2031 $46.15
Contrarian Capital | 11 750% Notes Due 10/21/2026 $9,184.91
Fund I, L.P.
Contrarian Dome
du Gouter Master | 11.75% Notes Due 10/21/2026 $3,008.46

 

Fund, LP

 

 

It is FURTHER ORDERED, ADJUDGED, AND DECREED that postjudgment interest

from the date of this judgment will accrue on the amounts listed above at the rate provided by 28

U.S.C. § 1961(a).

SO ORDERED

Dated: October 16, 2020
New York, New York

On-

ANALISA TORRES
United States District Judge

 
